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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   (MIAMI DIVISION)

In Re:

Fernando Eliseo Gomez                                     Judge Robert A Mark
Maite Esther Cespedes,
                                                          Case No. 23-18016-RAM
         Debtors.
                                                          Chapter 13
                                /


                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Any interested party who fails to file and serve a written response to this motion
         within 14 days after the date of service stated in this motion, pursuant to Local Rule
         4001-1(C), will be deemed to have consented to the entry of an order granting the
         relief requested in the motion.

         COMES NOW Citizens Bank, N.A. pursuant to 11 U.S.C. § 362 (d)(1) and (d)(2),

moves for relief from the automatic stay as follows:

         1.     Jurisdiction over this matter is vested in this Court by virtue of 28 U.S.C. § 1334(b) and

the general order of reference previously entered in this district. This is a core proceeding under

28 U.S.C § 157(b)(2)(G).

         2.     On September 30, 2023, Debtors filed for relief under Chapter 13 of the Bankruptcy

code.

         3.     On July 10, 2022, Debtors executed a Retail Installment Sale Contract (“the Note”) for

the purchase of a 2021 Toyota Tacoma, VIN: 5TFAX5GN1MX189737. A true and accurate copy of

the Note is attached as Exhibit “A”.

         4.     Movant perfected its lien by recording its lien on the Certificate of Title. A copy of the

Certificate of Title is attached hereto as Exhibit “B”.
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        5.      The payoff balance, as of January 10, 2024, is $34,456.82, excluding attorney fees.

 An Affidavit in Support of Motion for Relief from the Automatic Stay is attached as Exhibit “1”.

        6.      Debtors have failed to remit the monthly payments on the account, beginning on

 October 24, 2023, and all subsequent payments in the amount of $1,967.83.

        7.      The clean retail value of a 2021 Toyota Tacoma is $31,875.00 pursuant to J.D. Power

 valuation, as set forth on Exhibit “C” attached hereto.

        8.      Pursuant to the terms of the Debtors’ proposed, amended or modified Chapter 13

 Plan, payments to Movant were to be “outside” and pursuant to the contract. The debtors’ are

 presently in default by not making all required payments. Said default is material and constitutes

 “cause” for termination of the automatic stays described above. Further, since no payments are

 being made to Movant during the operation of the automatic stays, Movant is being denied adequate

 protection. Relief from the automatic stays is, therefore, warranted under 11 U.S.C. §362(d)(1) and

 Fed. R. Bankr. P. 4001(a)(3).

        9.      Upon information and belief, Debtors have not claimed the Collateral as exempt.

        10.     As such, relief from the automatic stay is warranted under 11 U.S.C. §362(d)(1) for

 “cause”, §(d)(2) for the property’s lack of equity and pursuant to Fed. R. Bankr. P. 4001(a)(3).

        11.     The post-petition payment address is Citizens Bank, N.A., 1 Citizens Bank Way,

 MailStop: JCA110, Johnston, RI 02919.

        12.     A proposed Order is attached hereto as Exhibit “2”.

        WHEREFORE, Citizens Bank, N.A. requests an order under section 362(d)(1) and (d)(2)

modifying the stay in rem so that Citizens Bank, N.A. may complete its repossession of the vehicle

by selling the vehicle and applying the proceeds of the sale to the debt owed to Citizens Bank, N.A.,

that in the event that a hearing is necessary on this Motion that said hearing be held within thirty (30)
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days, and determining that Federal Rule of Bankruptcy Procedure 4001(a)(3) is not applicable and

Citizens Bank, N.A. may immediately enforce and implement the stay relief order, and for such other

and further relief as the Court may deem just and proper.



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                                              /s/ Geoffrey J. Peters
                                              Geoffrey J. Peters Esq. FBN: 66239
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing Motion for Relief from the
Automatic Stay has been served either by electronic transmission or by United States first class
postage prepaid to the following:

Fernando Eliseo Gomez and Maite Esther Cespedes
7001 W 35th Avenue, Unit 129
Hialeah, FL 33018

Jose A Blanco, Debtors’ Attorney
102 E 49th Street
Hialeah, FL 33013

Nancy K. Neidich, Trustee
PO Box 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

      16th day of January, 2024.
This ____




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